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UNITED STATES DISTRICT COURT ' ’ '

WESTERNDISTRICT OF TENNESSEE 05 AUG~| PH 3: |g

 

WESTERN DIVISION r mg §,q G@ULD
CLE`P§<. U_.S. sewer coum
i‘.~L”LJ 'Y.`?" if€§`:`?»i'iif$
GARY C. HANEY, JUDGMENT IN A CIVIL CASE
Plaintiff,
\".
UNI'I`ED STATES CUSTOMS SERVICE, CASE NO: 2:03-2530-]3
Defendant.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the Order Granting

Defendant’S Motion For Summary Judgment entered on July 25, 2005, this cause is hereby
dismissed without prejudice.

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8/{ l ZO~»/ THOMAS M. oou\.D

Date Clerk of Court

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(By) Deputy Clerk

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This notice confirms a copy of the document docketed as number 23 in
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William W. Siler

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Honorable J. Breen
US DISTRICT COURT

